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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

In re:                                                        §
                                                              §
PAYSON PETROLEUM 3 WELL                                       §       CASE NO. 17-40180
2014, L.P.,                                                   §
                                                              §       Chapter 7
          Debtor.                                             §
                                                              §
                                                              §
JASON R. SEARCY, CHAPTER 11                                   §
TRUSTEE FOR PAYSON                                            §
PETROLEUM, INC.,                                              §
                                                              §
          Plaintiff,                                          §
                                                              § Adversary Proceeding No. 18-04076
              v.                                              §
                                                              §
NEIL AGRAWAL, ET. AL.,                                        §
                                                              §
          Defendants.                                         §

         MOTION OF VARIOUS DEFENDANTS TO WITHDRAW THE REFERENCE

          NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
          WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE UNITED
          STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY
          FILING THIS PLEADING WITHIN FOURTEEN (14) DAYS FROM THE
          DATE OF SERVICE SHOWN IN THE CERTIFICATE OF SERVICE
          UNLESS THE COURT SHORTENS OR EXTENDS THE TIME FOR
          FILING SUCH OBJECTION. IF NO OBJECTION IS TIMELY SERVED
          AND FILED, THIS PLEADING SHALL BE DEEMED TO BE
          UNOPPOSED, AND THE COURT MAY ENTER AN ORDER GRANTING
          THE RELIEF SOUGHT. IF AN OBJECTION IS FILED AND SERVED IN
          A TIMELY MANNER, THE COURT WILL THEREAFTER SET A
          HEARING WITH APPROPRIATE NOTICE. IF YOU FAIL TO APPEAR
          AT THE HEARING, YOUR OBJECTION MAY BE STRICKEN. THE
          COURT RESERVES THE RIGHT TO SET A HEARING ON ANY
          MATTER.




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             MOTION OF VARIOUS DEFENDANTS TO WITHDRAW THE REFERENCE

         COME NOW the defendants listed on Exhibit “A” hereto (the “Movants”),1 all

defendants in the above styled and numbered adversary proceeding (the “Adversary

Proceeding”) filed by Jason R. Searcy, Chapter 11 Trustee (the “Plaintiff”), and file this their

Motion of Various Defendants to Withdraw the Reference (the “Motion”), respectfully stating as

follows:

                                                  I.      SUMMARY

         1.       This is an action to collect alleged debts of millions of dollars against persons

who have not filed proofs of claim in the underlying bankruptcy case and persons who have jury

rights regarding the same. The Court should therefore withdraw the reference of this Adversary

Proceeding because, inter alia, the Bankruptcy Court does not have Constitutional or statutory

authority to adjudicate the non-core claims asserted herein, the Bankruptcy Court does not have

authority to conduct a jury trial, and because there is nothing about this Adversary Proceeding

that suggests any particularized need for the Bankruptcy Court’s expertise or for it to manage

and administer an estate within its jurisdiction. Accordingly, the Bankruptcy Court should

recommend, and the District Court should order, that the reference of this Adversary Proceeding

be immediately withdrawn for all purposes and that this Adversary Proceeding should be placed

on a jury trial setting.

                                            II.        BACKGROUND

         2.       Payson Petroleum 3 Well 2014, L.P. (the “Debtor”) filed a voluntary petition for

relief under Chapter 7 of the Bankruptcy Code on January 31, 2017 (the “Petition Date”),



         1
                     For ease, Exhibit “A” matches the defendant names as listed by the Plaintiff in his complaint. The
Movants do not, by so listing themselves, represent that the Plaintiff has correctly spelled their names or that any of
the artificial entities listed on Exhibit “A” exist or are in good standing.

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thereby initiating Bankruptcy Case No. 17-40180 (the “Bankruptcy Case”) and creating its

bankruptcy estate (the “Estate”). Christopher Moser (the “Trustee”) is the Chapter 7 Trustee of

the Estate.

       3.       The Plaintiff is the Chapter 11 trustee for Payson Petroleum, Inc. (“Payson

Petroleum”). As such, he has alleged that the Debtor and the Estate owed Payson Petroleum

millions of dollars under an alleged subscription turn-key agreement.

       4.       The District Court, in a separate proceeding, has very recently entered a judgment

that Payson Petroleum was used to commit a fraud against numerous people, including the

Movants here, and that the turn-key agreements at issue were fraudulent. See Civil Action 4:16-

cv-902, E.D. Tex. (October 9, 2018 at docket no. 16).

       5.       On October 27, 2017, the Bankruptcy Court entered an order approving a

settlement between the Plaintiff and the Trustee, whereby, among other things, the Plaintiff

would have a claim in the Bankruptcy Case in the allowed amount of $2,671,900.50.

       6.       On September 12, 2018, the Plaintiff filed his complaint, thereby initiating this

Adversary Proceeding, pursuant to which he seeks a money judgment against all defendants (229

of them) for $2,474,900.50. This is the amount allegedly remaining unpaid on the allowed

$2,671,900.50 claim once the Estate has exhausted its other assets in an attempt to pay the

allowed claim. Asserting a claim under 11 U.S.C. § 723(a), the Plaintiff alleges that each of the

Movants was a general partner of the Debtor and that, accordingly, they (and all defendants) are

jointly and severally liable to him for the allowed claim remaining unpaid.

       7.       None of the Movants filed a proof of claim in the Bankruptcy Case.

       8.       Of the 229 defendants in this Adversary Proceeding, only 1, The Allan and

Marcia Rastede Family Revocable Living Trust, filed a proof of claim in the Bankruptcy Case.



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                            III.       ARGUMENT AND AUTHORITIES

A.     CLAIMS ARE NON-CORE

       9.       The Movants do not deny that the Bankruptcy Court has jurisdiction under 28

U.S.C. § 1334 over this Adversary Proceeding, as an action that is “related to” the Bankruptcy

Case because it may increase the assets of the Estate. See 11 U.S.C. § 541(a)(3) (providing that a

recovery under section 723(a) is property of the estate). However, this Adversary Proceeding is

not a core proceeding, and the Movants do not consent to the Bankruptcy Court entering a final

judgment.

       10.      It is not a core proceeding pursuant to 28 U.S.C. § 157(b)(2), because the section

723(a) claim is not listed in this statute and because the claim is nothing more than an attempt to

augment the Estate. It is also not a core proceeding pursuant to the Constitution. While the

Plaintiff invokes the catch-all language of section 157(b)(2)(A) and (O), which calls for

heightened scrutiny, see In re United Sec. & Comms. Inc., 93 B.R. 945, 957 (Bankr. S.D. Ohio

1988), ultimately it is the Constitution that determines which causes of action may be core claims

and which cannot.

       11.      As the Supreme Court has made clear, the mere fact that Congress might label

something to be core does not mean that the Bankruptcy Court has Constitutional authority over

the claim. See Stern v. Marshall, 564 U.S. 462 (2011), Northern Pipeline Construction Co. v.

Marathon Pipe Line Co., 458 U.S. 50 (1982). Thus, lower courts “must keep one eye cocked

toward” the Marathon decision, which held that “bankruptcy courts may not have original

jurisdiction over adversary proceedings that do not intimately involve the debtor-creditor

relationship and rest solely in issues of state law.” Holland America Ins. Co. v. Succession of

Roy, 777 F.2d 992, 998 (5th Cir. 1985). In Stern, the Supreme Court expanded on Marathon and



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explained that core proceedings are those that either arise under title 11 or in a title 11 case,

whereas non-core proceedings are those merely related to a title 11 case. Stern, 564 U.S. at 476-

77.

          12.     Notwithstanding this statutory distinction, however, a Bankruptcy Court does not

have Constitutional authority to adjudicate “a state law action independent of the federal

bankruptcy law and not necessarily resolvable by ruling on a creditor’s proof of claim in

bankruptcy.” See id. at 487. The Supreme Court recognized a “distinction between actions that

seek to augment the bankruptcy estate and those that seek a pro rata share of the bankruptcy res

….” Id. at 499 (quotations omitted). And that distinction “reaffirms that Congress may not

bypass Article III simply because a proceeding may have some bearing on a bankruptcy case; the

question is whether the action at issue stems from the bankruptcy itself or would necessarily be

resolved in the claims allowance process.” Id.

          13.     The Plaintiff’s claim here is clearly to augment the Estate. He is a creditor of the

Estate seeking simply to bring more money into the Estate to enlarge his anticipated recovery.

This Adversary Proceeding does not involve the debtor-creditor relationship or even the

allowance of a claim against the Estate, but rather an affirmative cause of action by the Estate

against non-creditors for a money judgment. It is not even the Trustee seeking the recovery, but

rather a creditor.        For this reason, the Bankruptcy Court lacks core jurisdiction over this

Adversary Proceeding even though it may have some bearing on the Bankruptcy Case or the

Estate.

          14.     Additionally, although the cause of action is phrased in terms of the Bankruptcy

Code, it is Texas law that will determine the outcome. The statute asserted by the Plaintiff

provides that:



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         If there is a deficiency of property of the estate to pay in full all claims which are
         allowed in a case under this chapter concerning a partnership and with respect to
         which a general partner of the partnership is personally liable, the trustee shall
         have a claim against such general partner to the extent that under applicable
         nonbankruptcy law such general partner is personally liable for such deficiency.

11 U.S.C. § 723(a) (emphasis added).2 The statute expressly provides that nonbankruptcy law

will determine the alleged liabilities of the Movants.

         15.      This is in accordance with the general law that “property interests are created and

defined by state law, and unless some federal interest requires a different result, there is no

reason why such interests should be analyzed differently simply because an interested party is

involved in a bankruptcy proceeding.” Stern, 564 U.S. at 495 (quotations omitted). The same is

true of section 723(a), which merely gives a trustee standing to pursue state-law causes of action

against general partners:

         a trustee is entitled to judgment against partners under § 723(a) only to the extent
         that partnership creditors have recovered or could recover judgment against those
         partners under nonbankruptcy law. It is clear from the legislative history of §
         723(a), that in enacting that section Congress did not intend to thereby create new
         liabilities for partners of a partnership in bankruptcy, and it is also clear that the
         existence and extent of a partner’s liability for partnership debts under § 723(a) is
         limited by applicable state law.

Ehrenberg v. WSCR, Inc. (In re Hoover WSCR Assocs., Ltd.), 268 B.R. 227, 234 (Bankr. C.D.

Cal. 2001).

         16.      Like in Stern, therefore, the Plaintiff’s claim “is in no way derived from or

dependent on bankruptcy law; it is a state … action that exists without regard to any bankruptcy

proceeding.” See Stern, 564 U.S. at 499 (referring to a state tort action). The Plaintiff brought

the claim to augment the Estate. It does not “stem[] from the bankruptcy itself” and will not

“necessarily be resolved in the claims allowance process.” See id.


         2
                    The Plaintiff does not have standing under this statute, and therefore no court has subject matter
jurisdiction, as the Movants have otherwise briefed in their motion to dismiss.

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        17.      And, to reiterate, none of the Movants filed a proof of claim in the Bankruptcy

Case, thereby arguably subjecting themselves to the Bankruptcy Court’s jurisdiction, and only

one other defendant did. While that other defendant may have correspondingly different legal

rights, it is unthinkable that two courts would try the same lawsuit, the District Court with 228

defendants, and the Bankruptcy Court with 1 defendant.

        18.      Accordingly, because the Plaintiff’s claim is in reality a state law claim, because

it is brought merely to augment the Estate, and because the Movants have not filed proofs of

claim in the Bankruptcy Case, the Bankruptcy Court cannot adjudicate the claim as a core claim

even if there is otherwise “related to” jurisdiction.

B.      JURY RIGHTS

        19.      For similar reasons, the Movants have jury rights, and they do not consent to the

Bankruptcy Court conducting a jury trial. It is clear that the Seventh Amendment applies in

bankruptcy and that the Movants, by not filing proofs of claim in the Bankruptcy Case, have not

waived those rights.3 See Langenkamp v. Culp, 498 U.S. 42, 44-45 (1990). Accordingly, the

analysis is a straight forward, Seventh Amendment analysis which the Supreme Court has

summarized as follows:

        First, we compare the statutory action to 18th-century actions brought in the
        courts of England prior to the merger of the courts of law and equity. Second, we
        examine the remedy sought and determine whether it is legal or equitable in
        nature. The second stage of this analysis is more important than the first. If, on
        balance, these two factors indicate that a party is entitled to a jury trial under the
        Seventh Amendment, we must decide whether Congress may assign and has
        assigned resolution of the relevant claim to a non-Article III adjudicative body
        that does not use a jury as factfinder.

Granfinanciera, S.A. v. Nordberg, 492 U.S. 33 (1989) (citations and quotations omitted).



        3
              The Movants do not concede that the filing of a proof of claim waives all jury rights, as
Langenkamp makes clear. Rather, they contend that, by not filing a proof of claim at all, there can be no waiver.

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       20.     Here, the complicating issue is that the claim on which the Plaintiff seeks relief is

a claim seemingly created by Congress within the Bankruptcy Code. Arguably, it is therefore an

equitable claim that does not implicate the Seventh Amendment, especially since it is appears to

have been created by Congress and Congress can therefore limit jury rights.                             Indeed, one

bankruptcy court has concluded that there are no jury rights with respect to a section 723(a)

claim. See Tatge v. Chandler (In re Judiciary Tower Assocs.), 170 B.R. 8 (Bankr. D.C. 1994).

Yet that court ignored the admonition that so concluding results in a “wolf in sheep’s clothing,”

since all that Congress did was to create a conduit for what are otherwise state-law, legal rights.

See In re Owensboro Distilling Co., 108 B.R. 572, 574 (Bankr. W.D. Ky. 1989). Indeed, if the

fact that the claim is created by Congress, even though it is based on state law, controls, then

Congress could do away with all jury rights by simply taking common law and state-law claims

and codifying them as federal statutes.

       21.     Rather, the conclusion turns on the Supreme Court’s well defined analysis of what

is a legal claim versus what is an equitable claim, with the test being the form of relief sought:

       The seventh amendment . . . would be defeated if an action at law could be tried
       by a court of equity . . . And so it has been held by this court ‘that whenever a
       court of law is competent to take cognizance of a right, and has power to proceed
       to a judgment which affords a plain, adequate, and complete remedy, without the
       aid of a court of equity, the plaintiff must proceed at law, because the defendant
       has a constitutional right to a trial by jury. It would be difficult, and perhaps
       impossible, to state any general rule which would determine in all cases what
       should be deemed a suit in equity as distinguished from an action at law, for
       particular elements may enter into consideration which would take the matter
       from one court to the other; but this may be said, that where an action is simply
       for the recovery and possession of specific, real, or personal property, or for the
       recovery of a money judgment, the action is one at law.

Whitehead v. Shattuck, 138 U.S. 146, 151 (1891) (emphasis added) (internal citations omitted).

Accord Dairy Queen, Inc. v. Wood, 369 U.S. 469, 476-78 (1962) (“[p]etitioner’s contention … is




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that insofar as the complaint requests a money judgment it presents a claim which is

unquestionably legal. We agree with that contention.”)

       22.     Therefore, because all that the Plaintiff seeks is a money judgment based on a

state-law, legal claim, and because the Movants have not filed proofs of claim, the Movants are

entitled to a trial by jury which the Bankruptcy Court cannot conduct.

C.     WITHDRAWAL OF THE REFERENCE

       23.     The district court may withdraw, in whole or in part, any case or proceeding

referred under this section, on its own motion or on timely motion of any party, for cause shown.

See 28 U.S.C. § 157(d). “[T]he Fifth Circuit stated that in ruling on motions to withdraw the

reference for cause, a court should consider several factors, including whether the matter

involves core or non-core issues, judicial economy, uniformity in bankruptcy administration, the

economical use of the parties’ resources, the effect of withdrawal on the goal of expediting the

bankruptcy process, and forum shopping.” Texas Capital Bank, N.A. v. Dallas Roadster, Ltd. (In

re Dallas Roadster, Ltd.), Adv. No. 13-4033, 2013 WL 5758632 (Bankr. E.D. Tex. Sept. 27,

2013 (citing Holland America Ins. Co. v. Succession of Roy, 777 F.2d 992, 999 (5th Cir. 1985)).

The Fifth Circuit also suggested that the presence of jury demand could factor into the Court’s

decision. See Holland America, 777 F.2d at 999. These factors all support withdrawal of the

reference in this case.

       24.     Most fundamentally, the Bankruptcy Court cannot try this Adversary Proceeding

to finality. Only the District Court can enter a final judgment, and only the District Court can

conduct the jury trial. Since the trial will be a jury trial, the Bankruptcy Court cannot even enter

proposed findings of fact and conclusions of law to assist the District Court or, even if somehow

it could or would, in no event would they be admissible to a jury. It would be a complete waste



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of the Bankruptcy Court’s time and efforts, of the District Court’s time and efforts, and of the

parties’ resources. Thus, as the District Court will have to withdraw the reference eventually

anyway, both courts and all parties are best served by that happening now, such that the District

Court can also address all pretrial matters that will arise. This is especially the case given that

those pretrial matters will directly impact the jury trial that the District Court will conduct,

meaning that either the District Court will have to “reinvent the wheel” anyway, or it will be

limited by what the Bankruptcy Court, which by design has little to no experience conducting

jury trials, does.

        25.     With respect to the Fifth Circuit’s factors, “cause” exists to withdraw the

reference for this Adversary Proceeding in toto for at least the following reasons:

        (i)     Non-core issues predominate and there are no core issues.                           While not itself

                determinative, this is the most important factor. As the Supreme Court and the

                Fifth Circuit have repeatedly admonished the lower courts, care must be taken to

                ensure that Constitutional problems are avoided on the front end. All courts

                “must keep one eye cocked toward” Marathon and Stern v. Marshall.

        (ii)    There are jury rights.

        (iii)   Judicial economy is favored by having the District Court handle and try all

                matters. Not only is duplication avoided, but potentially years of appeals and

                post-judgment proceeds are avoided. One need only look to the length of time,

                cost, and jurisdictional uncertainty that arose because the reference in Stern v.

                Marshall was not withdrawn.

        (iv)    There is no need for the Bankruptcy Court’s expertise.                            Many times, it is

                preferable for the Bankruptcy Court to address bankruptcy matters, as the subject



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              matter expert, even if for only a report and recommendation to the District Court.

              Here, it is Texas state law that will control whether the Movants are liable as

              alleged general partners.

      (v)     There is no concern regarding uniformity in bankruptcy administration, for the

              simple reason that this Adversary Proceeding does not involve any bankruptcy

              administration. It is purely a state law claim asserted to augment the Estate.

      (vi)    The Movants are not engaged in forum shopping. The Movants did not choose

              where to file this Adversary Proceeding; the Plaintiff did. The Movants seek to

              conserve their resources and to engage in one suit with one trial and one

              judgment, which it is undisputable only the District Court can grant everyone.

              That is not forum shopping. It is what the Constitution and Congress demand.

      (vii)   With respect to expediting the process, the Movants doubt how much the

              process—with two lawsuits and over 300 defendants—can be expedited. This

              Adversary Proceeding is likely to take as long to adjudicate in the Bankruptcy

              Court as in the District Court. What is certain, however, is that ongoing and

              repeated jurisdictional questions, questions of authority, questions of a report and

              recommendation, and another intermediate level of appeals court, such as would

              result if the reference is not withdrawn, can only slow down the process and

              create additional work for both courts.

                                               IV.       PRAYER

      WHEREFORE, PREMISES CONSIDERED, the Movants respectfully request that the

Bankruptcy Court enter a report and recommendation recommending the immediate withdrawal




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of the reference, that the District Court so order, and that the Movants be granted such other and

further relief as may be appropriate.

                   RESPECTFULLY SUBMITTED this 24th day of October, 2018.

                                                                   MUNSCH HARDT KOPF & HARR P.C.

                                                                   /s/ Davor Rukavina
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                                                                      Email: jvasek@munsch.com

                                                                   COUNSEL FOR MOVANTS




                                        CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on the 24th day of October, 2018, a true and
correct copy of the foregoing document was served upon the attached service list via the Court’s
CM/ECF system on counsel for the Plaintiff.

                                                                   /s/ Davor Rukavina
                                                                      Davor Rukavina, Esq.




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                                                EXHIBIT “A”


1               Neil Agrawal
2               Om Agrawal
3               Veena Agrawal
4               Sunil Agrawal
5               Kenneth C. Aldrich
6               Yvonne Craig-Aldrich
7               Wenzhong An
8               Dana D. An
9               The Peter L. Backes Trust DTD 6-17-88
10              David Bartczak
11              Heidi Beh
12              Warren V. Bush
13              Fay L. Bush
14              Van H. Butler
15              Mary L. Butler
16              Donald C. Calvello
17              Jocelyn S. Carter 1992 Trust
18              Brandon Chen
19              Jiangnan Chen
20              Mary Chen
21              Meiyu Chen
22              Grace Edward Y. Chu
23              Grace W. Chu
24              Charles R. Cobb
25              Jeffrey M. Cohen
26              Yulduz Cohen
27              Donald A. DiFiore
28              Lawrence S. Esposito
29              Theodora B. Esposito
30              PI Resources, LLC
31              GJQ and SLQ Investments, LLC
32              Rick Gardner
33              Timothy Jack Gibson
34              Stacey Leigh Gibson
35              John Gong
36              Richard A. Graham, Jr.
37              Grubbs Holding Trust
38              Ronald Guichard
39              Edwin W. Hardey
40              William G. Hayden
41              Deborah G. Hayden
42              Sharlene Sims Horak
43              Rocky Howington
44              Anna Howington
45              Zhongwen Huang
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                                                EXHIBIT “A”


46              Virginia P. Humphrey II
47              Felicia Y. King
48              Suresh Kumar
49              Malini Kumar
50              Crystal LeClercq
51              Fen V. Lee Living Trust
52              Inn C. Lee Living Trust
53              Huifang Liang
54              Richard Z. Lu
55              Jia Liu
56              Tim Moore
57              Ernest F. Morgan
58              Pamela S. Morgan
59              Michael Musaraca
60              Kazuo J. Nanya
61              Rosalyn S. Nanya
62              Ross Chan
63              Margaret Ng
64              Sara Ng
65              Thomas Partridge
66              Lois Partridge
67              Kevin Peterson
68              John F. Pollick
69              Ying Qi
70              Jeremy D. Rauhauser
71              Blake W. Rodgers
72              Christopher L. Rooker
73              Audrey Schwarzbein
74              Schwarzbein-Graham Family Trust
75              Toussaint Smith
76              Rose Sobel Rev. Trust 9/21/95
77              Jeremy W. Szeto
78              Joey E. Turner
79              Linda Jo Turner
80              Cehuan Wang
81              Jiuzhou Wang
82              Meimei Xu
83              Weiner Trust
84              2008 Donald R. & Debra R. Woods Revocable Trust
85              Hailin Yan
86              Lei Yan
87              Ximing Yang
88              Hang Yuan
89              Yingzi Song
90              Yang Zhao
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                                                     EXHIBIT “A”


91                     Hong Yang
92                     Liping Zhong
93                     Jun Zhou
94                     Philip Zou
95                     Jan Cheng
96                     3 Well MGP, LLC

97                     Dr. Tapan K. Daftari
98                     Anisa Daftari
99                     John A. Diaz
100                    Kurt E. Erickson
101                    Renjie Fu (incorrectly listed as Fuller)
102                    Kijabe Limited Liability Company
103                    Chris Lahiji
104                    Ravinda Prakash
105                    Kum Kum Prakash
106                    Natalia Rynoin
107                    Lihong Huang
108                    Xiaoli Zhang
109                    Shu Chen
110                    Lisa Chen
111                    Zhong Wu
112                    He Yuan
113                    Ning Li
114                    Glenn Jason Salsbury
115                    Einer G. Lindholm
116                    Derik Einer Lindholm
117                    Krystle Lindholm Exempt Trust
118                    Marisa Lindholm Exempt Trust
119                    Riverstone Resources, Ltd.
120                    Thomas Clayton
121                    Barry Brodbeck




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